                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-00947-DDD-KLM

JAMES COREY GOODE, individually, and
GOODE ENTERPRISE SOLUTIONS, INC.,

       Plaintiff,

v.

ROGER RICHARDS RAMSAUR,
LEON ISAAC KENNEDY,
ADRIENNE YOUNGBLOOD,

     Defendants.
_____________________________________________________________________

                                ORDER
_____________________________________________________________________
ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

       This matter is before the Court on Plaintiffs’ Motion for Sanctions [#92] (the

“Motion”).   Defendants Leon Isaac Kennedy (“Kennedy”) and Adrienne Youngblood

(“Youngblood”) filed a Response [#99] in opposition to the Motion [#92], and Plaintiffs

filed a Reply [#102]. On May 8, 2023, the Court issued an Order [#104] which denied the

Motion in part, granted it in part, and took it under advisement in part. The present Order

addresses the portion of the Motion [#92] previously taken under advisement, which

concerned the amount and type of sanctions to be awarded pending submission by

Plaintiffs of a supplemental filing. Order [#104] at 17. The Court ordered that the

supplemental filing contain the following:

       (1) A list by page and line numbers of every instance of alleged improper conduct

       by defense counsel in every deposition where Plaintiffs allege such improper

       conduct occurred;

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       (2) Copies of every page of every deposition where such alleged improper conduct

       occurred attached as exhibits to the supplement;

       (3) Identification of each question which Plaintiffs believe the deponent(s) failed to

       answer due to defense counsel’s improper conduct and which they are requesting

       that deponent(s) be ordered to answer;

       (4) Identification of each and every portion of the deposition(s) which Plaintiffs seek

       to have stricken by page and line number; and

       (5) To the extent that Plaintiffs seek monetary sanctions, a specific dollar amount

       sought and a thorough explanation of how the amount sought was calculated.

Order [#104] at 17-18.

       Plaintiffs timely filed a Supplement in Support of Plaintiffs’ Motion for Sanctions

[#106] (the “Supplement”) on Friday, May 19, 2023, and then an untimely

Amended/Corrected Supplement in Support of Plaintiffs’ Motion for Sanctions [#107] (the

“Amended Supplement”) on Monday, May 22, 2023.                  Defendants Kennedy and

Youngblood filed a Response [#108] in opposition to the Supplement [#107], stating that

“[t]his updated version of their supplemental filing is materially and substantially different

from the original filing, in direct violation of this Court’s Order from May 5, 2023 stating

that ‘[n]o extensions of the May 19’ deadline would be permitted, and that ‘[f]ailure to

timely file the supplement [would] result in the denial of the imposition of sanctions.’

(#104).” Response [#108] at 2.

       The Court has closely examined the Supplement [#106] and the Amended

Supplement [#107] and agrees with Defendants that the Amended Supplement [#107] is

untimely given that there is every indication that the original Supplement [#106] was



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simply not completed on time. First, the Supplement was filed at 11:58 p.m. on the day

of the deadline, i.e., May 19, 2023. Second, this is not a situation where the original

submission had, for example, a missing signature, an incorrect date, or missing pages.

Rather, there are substantive edits throughout the document, although it is especially

Section V. of the brief regarding the deposition of Defendant Kennedy where a large

amount of information has been added in the Amended Supplement [#107]. Compare

Supp. [#106] at 6 with Am. Supp. [#107] at 6. Third, Plaintiffs’ counsel merely states that

she “inadvertently filed the incorrect version of . . . the Supplement . . . and attached

Exhibit C[ ] and is refiling the corrected document[s] . . . .” Am. Supp. [#107] at 1. No

explanation is provided regarding how such a mistake occurred. Thus, the Court finds

the Amended Supplement [#107] to be untimely and strikes it from the electronic docket.1

        Having reviewed the Supplement [#106] provided by Plaintiffs in response to the

Order [#104], the Court makes the following rulings and further orders as to the portion of

the Motion [#92] previously taken under advisement.

A.     James Corey Goode

       Plaintiffs impermissibly broaden their request for sanctions in the Supplement

[#106] regarding the deposition of Plaintiff James Corey Goode (“Goode”). Plaintiffs’ only

developed argument in the underlying briefing on that deposition concerned

confidentiality. See Motion [#92] at 3, 11-12; Reply [#102] at 1. The Court adjudicated

this issue in its Order [#104], determining that sanctions were not appropriate in

connection with the purported confidentiality of Mr. Goode’s deposition. Order [#104] at



       1  The Court notes that, to the extent necessary, it will consider the corrected version of
Exhibit C [#107-3], given that Defendants make no argument specifically in opposition to the
exhibit and given that it merely consists of portions of Defendant Kennedy’s deposition.

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4-9.   To the extent Plaintiff asserts other alleged improper conduct by Defendants’

counsel at Mr. Goode’s deposition, such conduct was either not referred to at all in the

underlying briefs or, at most, may have been vaguely referenced in the background

section without any mention in the arguments and analysis section. There is also no clear

indication in the Motion [#92] that Plaintiffs sought monetary sanctions against Mr. Goode

based on conduct by Defendants’ counsel at that deposition. Further, Plaintiffs direct the

Court’s attention to no unanswered questions or testimony which should be stricken. See

[#106] at 4. Under these circumstances, the Court is not inclined to award any sanctions

against Defendants’ counsel in connection with the deposition of Mr. Goode.

       Accordingly, the Motion [#92] is denied to the extent Plaintiffs seek any sanctions

based on Defendants’ counsel’s conduct at Mr. Goode’s deposition.

B.     Defendant Kennedy

       Plaintiffs also impermissibly broaden their request for sanctions in the Supplement

[#106] regarding the deposition of Defendant Kennedy.         In the underlying briefing,

Plaintiffs only asked that he (and Defendant Youngblood) be compelled to answer all

questions that he did not answer upon the misdirection of his counsel and that any non-

responsive testimony by him be stricken from the record. Motion [#92] at 9-10. Plaintiffs

did not ask for monetary sanctions against Defendant Kennedy. Rather, Plaintiffs only

sought monetary sanctions in connection with the deposition of Defendant Youngblood.

See Motion [#92] at 9 (discussing Defendant Youngblood’s deposition and then stating

that, “[d]ue to the severity of the offenses by counsel, Plaintiffs request reimbursement

for costs and fees related to the preparation for and attendance to the deposition.”

(emphasis added)). Under these circumstances, in the absence of a clear request in the



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Motion [#92], the Court is not inclined to award any monetary sanctions against

Defendants’ counsel in connection with the deposition of Defendant Kennedy.

       Regarding non-monetary sanctions, Plaintiffs direct the Court’s attention to the

following portions of Defendant Kennedy’s deposition: (1) speaking/improper objection:

11:10-21, 218:17; (2) impeding deposition: 15:17-18:5; (3) unanswered questions: none;

and (4) nonresponsive testimony to be stricken: 236:4-239:8. Supp. [#106] at 6.

       The majority of Defendant Kennedy’s argument in the Response [#108] concerns

whether monetary sanctions should be imposed or whether the alleged improper conduct

was actually improper. He offers no argument whatsoever as to why the cited portion of

his deposition transcript should not be stricken on that basis. On review of the deposition

transcript, see [#107-3] at 236:4-239:8, and in the absence of any argument to the

contrary, the Court finds that this portion of Defendant Kennedy’s deposition should be

stricken as nonresponsive.

       Accordingly, the Motion [#92] is denied regarding monetary sanctions concerning

Defendant Kennedy’s deposition. The Motion [#92] is granted regarding non-monetary

sanctions concerning Defendant Kennedy’s deposition, to the extent that the deposition

testimony located at 236:4-239:8 is stricken as nonresponsive.

C.    Defendant Youngblood

       In its prior Order [#104], the Court directed Plaintiffs to provide “a thorough

explanation of how the amount sought was calculated.” Order [#104] at 18. However,

Defendant Youngblood has not provided sufficient detail regarding her request for

monetary damages, including about the time she states that she spent for which she

seeks reimbursement. For example, she states that she spent 79 total hours preparing



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for and attending Defendants Youngblood and Kennedy’s depositions, but she does not

specify how many hours related to the Youngblood deposition and how many hours

related to the Kennedy deposition. Supp. [#106] at 5. In addition, she has not explained

why she spent so many hours preparing for and attending Defendant Youngblood’s

deposition. The Court requires a more thorough explanation, including dated time entries

reflecting precisely the work performed by Plaintiffs’ counsel on each date and at each

time.

        In addition, there are significant drafting errors in the Supplement [#106] which

must be corrected. For example, in the discussion of Defendant Youngblood’s deposition,

Plaintiffs request $26,403.75 “for misconduct at Mr. Goode’s deposition.” Supp. [#106]

at 5. This may be a mere scrivener’s error, but the Court cannot make such assumptions

when determining the imposition of sanctions.

        Finally, Plaintiffs have not explained why sanctions should be imposed covering

the entire cost of Defendant Youngblood’s deposition, as they appear to implicitly request

in the Supplement [#106]. Such a request must be adequately explained before the Court

will impose such a broad sanction.2

        Accordingly, the Motion [#92] is taken under advisement regarding sanctions

concerning Defendant Youngblood’s deposition. Plaintiffs shall file a Second Supplement

in Support of Plaintiffs’ Motion for Sanctions no later than June 23, 2023. This Second

Supplement shall address the issues raised by the Court above and must include all of

the information required by D.C.COLO.LCivR 54.3 in connection with attorney fee




        2  The Court notes that none of the above-mentioned deficiencies/errors were addressed
in the stricken Amended Supplement [#107].

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requests. In the event that Plaintiffs fail to timely file the required information, the Court

will decline to enter monetary sanctions regarding Defendant Youngblood’s deposition.

D.     Conclusion

       Based on the foregoing,

       IT IS HEREBY ORDERED that the Amended Supplement [#107] is STRICKEN.

       IT IS FURTHER ORDERED that the portion of the Motion [#92] previously taken

under advisement, see Order [#104] at 17, is DENIED in part, GRANTED in part, and

TAKEN UNDER ADVISEMENT in part. The Motion [#92] is denied regarding sanctions

concerning Mr. Goode’s deposition and regarding monetary sanctions concerning

Defendant Kennedy’s deposition. The Motion [#92] is granted regarding non-monetary

sanctions concerning Defendant Kennedy’s deposition, as outlined above. The Motion

[#92] is taken under advisement regarding sanctions concerning Defendant

Youngblood’s deposition.

       IT IS FURTHER ORDERED that Plaintiffs shall submit a Second Supplement in

Support of Plaintiffs’ Motion for Sanctions no later than June 23, 2023, which provides

the information outlined above concerning Defendant Youngblood’s deposition.



       Dated: June 9, 2023




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